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 6
      Attorneys for Plaintiff
 7    AECOM ENERGY &
      CONSTRUCTION, INC.
 8
 9                        UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11    AECOM ENERGY &                     )   CASE NO. 2:17-cv-05398-RSWL(SSx)
      CONSTRUCTION, INC., an Ohio        )
12    Corporation,                       )   REQUEST TO ENTER DEFAULT
                                         )
13               Plaintiff,              )   Complaint Filed Date: July 21, 2017
                                         )
14          v.                           )   Judge:      Hon. Ronald S. W. Lew
                                         )
15    JOHN RIPLEY, et al.,               )
                                         )
16               Defendants.             )
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 1         TO: THE CLERK OF THE ABOVE-ENTITLED COURT
 2         Plaintiff AECOM Energy & Construction, Inc. (“AECOM”) hereby requests
 3   that the Clerk of the above-entitled Court enter default in this matter against
 4   Defendants Bud Zukaloff, John Ripley, Todd Hale, and Henry Blum (collectively, the
 5   “non-appearing Defendants”) on the ground that the non-appearing Defendants have
 6   failed to appear or otherwise respond to the Complaint within the time prescribed by
 7   the Federal Rules of Civil Procedure. Plaintiff served the Complaint on the non-
 8   appearing Defendants no later than August 29, 2017, evidenced by the Declaration of
 9   Diana M. Torres in Support of AECOM’s Service on Defendants Zukaloff, Ripley,
10   Hale and Blum Pursuant to FRCP 4 and Cal. Code Civil Proc. 415.20; and Supporting
11   Proofs of Service. Dkt. 42.
12         The above stated facts are set forth in the accompanying declaration of Diana
13   M. Torres, filed herewith.
14    DATED: December 1, 2017                    Respectfully submitted,
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16
                                                 /s/ Diana M. Torres
17                                               Diana M. Torres
18                                               Attorney for Plaintiff
19                                               AECOM ENERGY &
                                                 CONSTRUCTION, INC.
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